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Moira Meltzer-Cohen, Attorney at Law | 277 Broadway Suite 1501 NY, NY 10007
Honorable Judge Anthony Trenga
Albert V. Bryan U.S. Courthouse
401 Courthouse Square
Alexandria, VA 22314
                                                                                      March 3, 2020

Re: Letter Motion Re: In re Grand Jury Subpoena, 1-19-dm-0012-AJT


Dear Judge Trenga,

         I am writing in advance of the hearing scheduled in the above-referenced matter, to move
that this Court bar the government from transporting Ms. Manning to the Grand Jury prior to the
March 13 appearance before this Court.

        I have been advised by Assistant United States Attorney Gordon Kromberg that the
government intends to have Ms. Manning transported to appear again before the Grand Jury on
March 10, prior to our scheduled hearing. She has already twice refused to give testimony and
has twice been found in contempt. She has made it quite clear that she will not be convinced to
give testimony and betray her principles, and the pending motion more than reiterates those
principles. She is willing to repeat those convictions, and her refusal to testify, at the hearing on
the 13th.

        At this point, to put Ms. Manning in front of the Grand Jury simply serves no legal or
rational purpose. The question before the Court is simply whether further incarceration will
induce a change of heart. There are no grounds for an experiment to determine whether repeated
exposure to questioning of unknown duration or tone will elicit such a change, and there is no
legal basis for doing so.

       Another appearance at the Grand Jury would be a waste of the Grand Jury’s time, and a
waste of the security and support personnel resources involved in arranging such an appearance .

        Accordingly, I move this Court to direct the government not to produce Ms. Manning to
the Grand Jury on March 10. The the issue of Ms. Manning’s incoercibility is the proper subject
of inquiry by you, and will surely occur in open court on March 13.

       For the above stated reasons, I respectfully request that this motion be granted.

Respectfully submitted,




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